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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE: LOCAL TV ADVERTISING                            Master Docket No. 18-06785
ANTITRUST LITIGATION
                                                       MDL No. 2867
This document applies to all actions.
                                                       The Honorable Judge Virginia M. Kendall



                        STIPULATION AND SCHEDULING ORDER

        Plaintiffs and Defendant ShareBuilders, Inc., acting through their undersigned counsel,

hereby stipulate as follows:

        WHEREAS, ShareBuilders, Inc. filed a Motion to Dismiss for Failure to State a Claim

(“Motion to Dismiss”) (ECF Nos. 588/589) on April 15, 2022.

        WHEREAS, the Parties believe the interest of justice would best and most efficiently be

served by the entry of an order establishing a briefing schedule.

        Accordingly, the Parties hereby STIPULATE to and respectfully request entry of the

following schedule:

        1.      Plaintiffs’ opposition to the ShareBuilders, Inc. Motion to Dismiss shall be due on

May 16, 2022.

        2.      ShareBuilders, Inc.’s reply in further support of its Motion to Dismiss shall be

due on May 31, 2022.


ORDERED


Dated: April 21, 2022                                 ____________________________________
                                                      Honorable Virginia M. Kendall
                                                      United States District Court Judge
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Dated: April 20, 2022                       Respectfully submitted,

                                             /s/ Megan E. Jones
                                            Megan E. Jones*
                                            HAUSFELD LLP
                                            600 Montgomery St., #3200
                                            San Francisco, CA 94111
                                            (415) 633-1908
                                            mjones@hausfeld.com

                                            Michael D. Hausfeld*
                                            Hilary K. Scherrer*
                                            Nathaniel C. Giddings*
                                            Farhad Mirzadeh*
                                            HAUSFELD LLP
                                            888 16th Street NW, Suite 300
                                            Washington, DC 20006
                                            (202) 540-7200
                                            mhausfeld@hausfeld.com
                                            hscherrer@hausfeld.com
                                            mcoolidge@hausfeld.com
                                            fmirzadeh@hausfeld.com

                                            Gary I. Smith, Jr.*
                                            HAUSFELD LLP
                                            325 Chestnut Street, Suite 900
                                            Philadelphia, PA 19106
                                            Tel: (215) 985-3270
                                            Fax: (215) 985-3271
                                            gsmith@hausfeld.com
                                            tfreilich@hausfeld.com

                                            Lead Class Counsel

                                            Meegan Hollywood*
                                            Matthew J. Geyer*
                                            ROBINS KAPLAN LLP
                                            399 Park Avenue, Suite 3600
                                            New York, NY 10022
                                            Tel: (212) 980-740
                                            Fax: (212) 980-7499
                                            mhollywood@robinskaplan.com
                                            mgeyer@robinskaplan.com




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                                         Kimberly A. Justice
                                         FREED KANNER LONDON
                                          & MILLEN LLC
                                         923 Fayette Street
                                         Conshohocken, PA 19428
                                         Tel: (610) 234-6487
                                         Fax: (224) 632-4521
                                         kjustice@fklmlaw.com

                                         Plaintiffs’ Steering Committee

                                         Steven A. Kanner
                                         Robert J. Wozniak
                                         FREED KANNER LONDON
                                          & MILLEN LLC
                                         2201 Waukegan Road, Suite 130
                                         Bannockburn, IL 60015
                                         Tel: (224) 632-4500
                                         skanner@fklmlaw.com
                                         rwozniak@fklmlaw.com

                                         Liaison Counsel



                                         /s/ Glenn E. Davis
                                         Glenn E. Davis
                                         HeplerBroom LLC
                                         211 North Broadway, Suite 2700
                                         St. Louis, MO 63102
                                         Tel. (314) 480-4154

                                         Counsel for ShareBuilders, Inc.




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